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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 Smith, et al.                             No. 3:18-cv-1011

 v.

 Costa Del Mar, Inc.                       Honorable Judge Corrigan




  SHIYANG HUANG’S REPLY BRIEF IN SUPPORT OF MOTION FOR LEAVE TO
   FILE A BRIEF AMICUS CURIAE IN SUPPORT OF DISTRIBUTING PROPOSE
 CLASS REPRESENTATIVES’ $30,000 “INCENTIVE AWARDS” ALONG WITH THIS
     COURT”S ORDER REGARDING DISTRIBUTION OF $4 MILLION FROM
                   REDUCTIONS OF ATTORNEY’S FEE




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  REPLY BRIEF IN SUPPORT OF HUANG’S MOTION FOR LEAVE TO FILE BRIEF
  AMICUS CURIAE IN SUPPORT OF ADDITIONAL $30,000 TO CLASS MEMBERS

        Plaintiffs complain that Huang should not be granted leave to argue that class members

 (one that does not include Huang) should have their $30,000 back under Johnson v. NPAS Sols.,

 975 F.3d 1244 (11th Cir. 2020). Each of their reason is wrong on both the facts and the law.

        Huang’s motion should be granted, so that class members get $30,000 back to them,

 without having Named Plaintiffs holding hostage of $30,000 “bounty”, which Johnson expressly

 prohibited, so as to protect absentee class members in a common-fund class-action settlement.

        First, Plaintiffs claim Huang lacks “interest” in this litigation. But they oversold now-

 Justice Alito’s opinion as some categorical rejection to accept amici based on whether a

 judgment binds them by any effect. Plaintiffs are reminded that an amici—by definition—lacks

 standing and is not bound by the court’s merits judgment. But that cannot mean that amici cannot

 participate for lack of standing, or because Plaintiffs complain that amici are “disinterested”.

        Today, as noted, Rule 29 requires that an amicus have an "interest" in the case,
        see Fed. R.App. Proc. 29(b)(1) and (c)(3), and the appellants' argument that an
        amicus must be "impartial" is difficult to square with this requirement. An
        accepted definition of the term "impartial" is "disinterested," Black's Law
        Dictionary 752 (6th ed.1990), and it is not easy to envisage an amicus who is
        "disinterested" but still has an "interest" in the case.

 Neonatology Associates, PA v. CIR, 293 F. 3d 128, 131 (3d Cir. 2002) (Alito, J.)

        Rather, a true friend of the court will seek to add value to our evaluation of the
        issues presented on appeal. To be sure, the fiction that an amicus acts as a neutral
        information broker, and not an advocate, is long gone. See Samuel Krislov, The
        Amicus Curiae Brief: From Friendship to Advocacy, 72 Yale L.J. 694, 703-04
        (1963). But even a friend of the court interested in a particular outcome can
        contribute in clear and distinct ways, by, for example:
        • Offering a different analytical approach to the legal issues before the court;
        • Highlighting factual, historical, or legal nuance glossed over by the parties;
        • Explaining the broader regulatory or commercial context in which a question
        comes to the court;
        • Providing practical perspectives on the consequences of potential outcomes;
        • Relaying views on legal questions by employing the tools of social science;


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        • Supplying empirical data informing one or another question implicated by an
        appeal;
        • Conveying instruction on highly technical, scientific, or specialized subjects
        beyond the ken of most generalist federal judges;
        • Identifying how other jurisdictions—cities, states, or even foreign countries—
        have approached one or another aspect of a legal question or regulatory challenge.
        The point, of course, is that an amicus curiae brief should be additive—it should
        strive to offer something different, new, and important. […] And a good amicus
        brief does not have to be long. Indeed, shorter is often better, and I offer that
        perspective knowing that it is more difficult to write a short, effective brief than a
        long, belabored brief.

 Prairie Rivers Network v. Dynegy Midwest Gen., LLC, 976 F.3d 761, 763 (7th Cir. 2020)

 (Scudder, J., in chambers). (And Huang—indeed—wrote a short brief, if not anything else.)

        Second, Huang disclosed—and clarifies again—that he is not a class member. Huang

 accurately moved for leave to file amicus curiae, not for filing a belated objection. Plaintiffs’

 inexplicable stretch of Huang’s tiny typographical error (ignoring that Huang sought leave as a

 proposed amici throughout his entire Motion) into some false argument that Huang filed “an

 improper and tardy objection” (Opp. 2) is patently without merit. Perhaps Plaintiffs cannot

 defend themselves on the merits, such that they need to find distractions from Huang’s briefs.

        Lastly, Plaintiffs complain that they should have been “consulted”, citing some case law

 denying “motion to compel”, i.e., with nothing to do with Huang’s motion for leave to file brief

 amicus curiae. It is starling that Plaintiffs themselves once told this Court that “If the Johnson

 decision remains in effect at the time of the Final Approval Hearing, Plaintiffs [would]

 withdraw their request for Incentive Awards[.]” ECF No. 109 at 2 n.1 (emphasis added). If

 Plaintiffs did what they promised, why would Huang appear at all? But Plaintiffs failed to

 “withdraw their request for Incentive Awards” when Johnson v. NPAS Solutions did “remain[] in

 effect” by Final Approval Hearing. Then, instead of honoring their own promises, Plaintiffs

 complain about amicus curiae asking Plaintiffs to keep their word? That is too much.




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        All in all, Plaintiffs (and their Counsel) still want to take away class members’ $30,000

 by nullifying Johnson v. NPAS and its force under stare decisis. If Plaintiffs can prevail in

 “reserving jurisdiction” until some circuit-binding published precedent is overruled or vacated,

 then when can a court ever apply precedents that bind them? Must this court still “reserve

 jurisdiction” if Johnson v. NPAS is denied for rehearing en banc, just in case if the U.S. Supreme

 Court might later reverse or vacate such rulings? Surely it cannot be, or else it will cause massive

 chaos. See Porter v. Warner Holdings Co., 328 U.S. 395, 398 (1946) (“Such a jurisdiction is an

 equitable one. Unless otherwise provided by statute, all the inherent equitable powers of the

 District Court are available for the proper and complete exercise of that jurisdiction.”)

        Plaintiffs’ remainder arguments—and their inability to overcome Huang’s argument

 (Motion at 3) on the merits—leads to the only conclusion that the Eleventh Circuit’s binding

 precedents are, indeed, binding until vacated, reversed or abrogated. Class members should get

 their $30,000 back to their pockets, even if Plaintiffs might hope to keep the “bounty” by

 claiming insignificance of absentees’ injury that they caused. Czyzewski v. Jevic Holding Corp.,

 137 S. Ct. 973, 983 (2017) (“a loss of even a small amount of money is ordinarily an "injury."”)

                                          CONCLUSION

        Huang’s motion for leave to appear as amicus curiae should be granted.

        Under Eleventh Circuit precedent, Johnson v. NPAS Solutions binds the circuit until the

 day it is vacated or reversed; because Plaintiffs failed to “withdraw their request for Incentive

 Awards” as promised, their request $30,000 in incentive awards must be denied under Johnson.

        Given this Court’s imminent order directing how to distribute $4 million cash to class

 members, it will be most administratively feasible way to distribute the $30,000 under Johnson

 by adding it to the $4 million (totaling $4.03 million) already queued for class distribution.




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 Date: November 22, 2021                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on or before November 22, 2021, a true and correct copy of the foregoing

 was filed with this Court. CM/ECF will then notify all counsels of record electronically.

                                                             /s/ Shiyang Huang




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